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                              UNITED STATES DISTRICT COURT
                               MIDDLE DISTRICT OF FLORIDA
                                  JACKSONVILLE DIVISION


   PATRICIA GREEN,

                 Plaintiff,

   v.                                                       Case No. 3:17-cv-649-J-34JRK

   EXPERT GLOBAL SOLUTIONS, INC.,

                 Defendant.



                                ORDER OF DISMISSAL


          THIS CAUSE is before the Court on Plaintiff's Notice of Voluntary Dismissal (Dkt.

   No. 12; Notice) filed on July 24, 2017. In the Notice, Plaintiff requests dismissal of this

   matter with prejudice. See Notice at 1. Upon review of the docket, the Court notes that

   Defendant has neither served an answer nor a motion for summary judgment.

   Accordingly, pursuant to Rule 41(a)(1)(A)(i), Federal Rules of Civil Procedure, it is hereby

          ORDERED:

          1.     This case is DISMISSED with prejudice.

          2.     The Clerk of the Court is directed to terminate all pending motions and close

                 the file.

          DONE AND ORDERED in Jacksonville, Florida this 25th day of July, 2017.
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   Copies to:

   Counsel of Record




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